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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                          :    CASE NO.
                                                  :
             v.                                   :    VIOLATIONS:
                                                  :
THOMAS PHAM LEGRO,                                :    18 U.S.C. § 2252(a)(4)(B)
                                                  :    (Possession of Child Pornography)
                      Defendant.                  :
                                                  :

                                           ORDER

       This matter having come before the Court pursuant to the application of the United States to

seal criminal complaint, the Court finds that, because of such reasonable grounds to believe the

disclosure will result in flight from prosecution, destruction of or tampering with evidence,

intimidation of potential witnesses, and serious jeopardy to the investigation, the United States has

established that a compelling governmental interest exists to justify the requested sealing.

       1.         IT IS THEREFORE ORDERED that the application is hereby GRANTED, and that

the affidavit in support of criminal complaint and other related materials, the instant application to

seal, and this Order are sealed until the arrest warrant is executed.

       2.         IT IS FURTHER ORDERED that the Clerk’s office shall delay any entry on the

public docket of the arrest warrant until it is executed.




Date: June 26, 2025
                                                       _____________________________________
                                                       HONORABLE MOXILA A. UPADHYAYA
                                                       UNITED STATES MAGISTRATE JUDGE
